                                                                                             DISTRICT OF OREGON
                                                                                                  FILED
                                                                                               September 24, 2018
                                                                                          Clerk, U.S. Bankruptcy Court



            Below is an Order of the Court.




                                                                           _______________________________________
                                                                                      DAVID W. HERCHER
                                                                                     U.S. Bankruptcy Judge




                                      UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF OREGON

In re                                                       )
                                                            )     Case No.      18-32695-DWH13
FARAH E BARGHOUTI
                                                            )
                                                            )
                                                            )     CONFIRMATION HEARING DATE:              09/27/18
                                                            )
                                                            )     ORDER CONFIRMING PLAN
                                                            )     AND RESOLVING MOTIONS
Debtor(s)                                                   )


      The debtor's plan having been provided to creditors and the Court having found that it complies with 11 USC
§ 1325, now, therefore IT IS ORDERED:

                             16 is confirmed, and all relief requested in the plan is granted. All references to the plan
1. Debtor's plan (Docket # ____)
are to the plan as modified by any amendment shown in ¶ 4 below.

2. Pursuant to 11 USC §522(f)(1), the following liens are avoided [listed alphabetically, and only one per line, including
each creditor’s name, service address, and lien type (e.g., judicial lien or non-purchase money security interest)]:
None




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3. Per the filed Application for Compensation (LBF 1305) and, if applicable, the Fees and Expenses Itemization
Through __________                                                                            3500.00
          09/13/18 (LBF 1306), compensation to debtor’s counsel of attorney fees of $____________         and
                 185.00
expenses of $____________,                 1000.00
                              of which $ ___________ has been paid, leaving $       2685.00      to be paid as
funds become available per plan ¶ 4(c).

4. Debtor has moved to amend the plan by interlineation as follows, which amendments are allowed and become
part of the confirmed plan:
¶3(a) Strike "225x1, $350 x 23, $600 thereafter"; Replace with "$350 x 24, $615 thereafter"

Add ¶17 “If necessary, within 60 days of the resolution of the domestic relations dispute regarding
support, the debtor shall file amended I and J schedules.”




5. The terms of this order are subject to any objection filed within 21 days by [listed alphabetically, and only one per
line, including each creditor’s name, service address]:
None




Additional Provisions, if any:




                                                          ###

                    09/14/18 I provided this Order to the Trustee for submission to the court.
I certify that on ___________



                                                                       /s/ Laura L. Donaldson OSB022930
                                                                       ___________________________________
                                                                       Debtor or Debtor’s Attorney

          /s/Michelle Nunnenkamp for
Approved: _______________________________
    Wayne Godare, Trustee




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